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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Elizabeth E. Brown

 In re:                                         )
                                                )
 MESA OIL, LLC,                            )   Bankruptcy Case No. 17-14004 EEB
                                                ) Chapter 11
                                                )
 Debtor.                                        )


                                          JUDGMENT

        Pursuant to and in accordance with the Order on Debtor’s Motion to Assume Sublease,
 entered by the Honorable Elizabeth E. Brown, Bankruptcy Judge, and entered on the record in
 the above-entitled matter on January 31, 2018, it is

          ORDERED AND ADJUDGED that

        1.      The parties did not try the issue of mutual mistake by consent under Fed. R. Civ.
 P. 15(b);

          2.    The Sublease is not ambiguous; and

          3.    The Sublease does not grant the Debtor exclusive access to the truck shop.

          DATED: January 31, 2018.


 APPROVED BY THE COURT:                              FOR THE COURT:




 ________________________________                    __________________________________
 Elizabeth E. Brown,                                 Deputy Clerk
 United States Bankruptcy Judge
